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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


CLARENCE PITTMAN, individually and on                 Case No.
behalf of all others similarly situated,
                                                      CLASS ACTION COMPLAINT
                             Plaintiff,
                                                      JURY TRIAL DEMANDED
       v.

BEENVERIFIED, LLC.

                             Defendant.



       Plaintiff Clarence Pittman (“Plaintiff”) brings this action on behalf of himself and all

others similarly situated against Defendant BeenVerified, LLC (“BeenVerified” or “Defendant”).

Plaintiff makes the following allegations pursuant to the investigation of his counsel and based

upon information and belief, except as to the allegations specifically pertaining to himself, which

are based on personal knowledge.

                                     NATURE OF ACTION

       1.      Defendant owns and operates a website that sells background reports on people to

the general public.

       2.      Defendant sells its reports on its website: www.beenverified.com.

       3.      Upon accessing BeenVerified’s website, the public-at-large is free to enter the

first and last name of a particular individual via a search bar on the homepage.

       4.      After entering this information, any public user of BeenVerified’s website is

provided with a listing of search results. Each search result corresponds to an actual person that

BeenVerified has located who matches the name provided by the public user.

       5.      These search results provide a limited, free preview of Defendant’s reports. As

shown in the images below, this free preview includes the searched individual’s name, age,

current and former cities, the searched individual ‘s relatives, and other identifying information:
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       6.      See below for other examples:




       7.      As shown in the above, BeenVerified’s free previews provides enough

information to identify an individual.

       8.      The purpose behind BeenVerified’s free preview is singular: to entice users to
purchase Defendant’s services. These services include “Court Records” and “Criminal Records”

relating to individuals on its database.




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       9.      Defendant uses these free previews to advertise its monthly subscription services

whereby a user can access and retrieve a “Search Report” or “Background Report” on any

individual in its database.

       10.     In order for a user to view a person’s “Profile” or other background histories

generated by the Defendant, a user needs to purchase Defendant’s services. Searching for an

individual a Defendant’s website leads users to a pay screen which presents them with an option

to pay for BeenVerified’s report and monthly subscription services.

       11.     BeenVerified’s most popular monthly subscription for Background Reports costs

$26.89 per month to access and search anyone on its database.

       12.     BeenVerified’s monthly subscription allows users to obtain background reports

using its services on an unlimited number of individuals per month.

       13.     BeenVerified’s monthly subscription for Search Reports allows users to access

information like current residence and phone number.

       14.     Defendant compiles and generates the content it sells on its website. According to

Defendant: “We compile federal, state, county and local databases including courts and police

records. Criminal Records are found based on availability.”

       15.     Ohio’s Right of Publicity law states that: “a person shall not use any aspect of an
individual's persona for a commercial purpose.” OH ST § 2741.02

       16.     Neither Plaintiff nor class members provided Defendant with written consent to

use their identities in Defendant’s advertisements. As detailed above, BeenVerified uses class

members’ identities to advertise its for-profit services. Thus, Defendant violates Ohio Revised

Code Sec. 2741.01, et. seq.

       17.     It would be simple for Defendant to maintain its business model while still

complying with state law. For example, Defendant could merely display the names of the

searched individuals without using the searched individual’s identities to market an unrelated

service.




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        18.     BeenVerified knowingly searches and obtains private and public records and/or

identifying information on Ohio residents. Indeed, this lawsuit revolves around Defendant’s

business practice of acquiring identifying information about Ohio residents with the specific

intent of selling that information to its customers.

        19.     Additionally, BeenVerified directly sell its services to consumers in Ohio.

                                              PARTIES

        20.     Plaintiff Clarence Pittman is a citizen of Ohio who resides in Mount Orab, Ohio.

        21.     Defendant BeenVerified, LLC is a Delaware limited liability company

corporation with its principal place of business located in New York, New York.
                                  JURISDICTION AND VENUE

        22.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A)

because this case is a class action where the aggregate claims of all members of the proposed

class are in excess of $5,000,000.00, exclusive of interest and costs, and Plaintiff, together with

most members of the proposed class, are citizens of states different from BeenVerified.

        23.     This court has specific personal jurisdiction over Defendant because BeenVerified

maintains its principal place of business in this district.

        24.     Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this action

because a substantial part of the events, omissions, and acts giving rise to the claims herein

occurred in this District and Defendant is at home in this district.

                      FACTS COMMON TO ALL CAUSES OF ACTION

        25.     Plaintiff Clarence Pittman discovered that BeenVerified uses his name, age, city

of domicile, and the identity of his relatives in advertisements on the BeenVerified website to

advertise and/or actually sell Defendant’s products and services. These advertisements were the

same or substantially similar to those shown in Paragraphs 5 and 6.

        26.     Plaintiff Pittman believes that it is reasonable for others to identify him because

Defendant’s advertisements include accurate details about him.




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        27.     Indeed, Plaintiff can confirm that the individual Defendant identified in paragraph

5 is himself.

        28.     Plaintiff never provided BeenVerified with consent to use any attribute of his

identity in any advertisement or for any commercial purposes.

        29.     Plaintiff is not and has never been a BeenVerified customer. He has no

relationship with BeenVerified whatsoever.

        30.     As the subject of a commercial transaction, Plaintiff’s personal identifiable
information disclosed by Defendant has economic value. These aspects of Plaintiff’s identity are

valuable to online advertisers among others.

        31.     Plaintiff has not been compensated by BeenVerified in any way for its use of his

identity.

                         CLASS REPRESENTATION ALLEGATIONS

        32.     Plaintiff seeks to represent a class defined as all Ohio residents who have

appeared in an advertisement preview for a BeenVerified report (the “Class”).

        33.     Members of the Class are so numerous that their individual joinder herein is

impracticable. On information and belief, members of the Class number in the millions. The

precise number of Class members and their identities are unknown to Plaintiff at this time but

may be determined through discovery. Class members may be notified of the pendency of this
action by mail and/or publication through the distribution records of Defendant and third-party

retailers and vendors.

        34.     Common questions of law and fact exist as to all Class members and predominate

over questions affecting only individual Class members. Common legal and factual questions

include, but are not limited to:

                           a. Whether BeenVerified uses class members’ names and identities in

                               advertisements for its own commercial benefit;




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                           b. Whether the conduct described herein constitutes a violation of

                               Ohio Revised Code Sec. 2741.01, et seq.;

                           c. Whether Plaintiff and the class are entitled to injunctive relief; and

                           d. Whether Defendant violated the privacy of member of the class.

         35.   The claims of the named Plaintiff are typical of the claims of the Class.

         36.   Plaintiff is an adequate representative of the Class because his interests do not

conflict with the interests of the Class members he seeks to represent, he has retained competent

counsel experienced in prosecuting class actions, and he intends to prosecute this action

vigorously. The interests of Class members will be fairly and adequately protected by Plaintiff

and his counsel.

         37.   The class mechanism is superior to other available means for the fair and efficient

adjudication of the claims of the Class. Each individual Class member may lack the resources to

undergo the burden and expense of individual prosecution of the complex and extensive

litigation necessary to establish Defendant’s liability. Individualized litigation increases the

delay and expense to all parties and multiplies the burden on the judicial system presented by the

complex legal and factual issues of this case. Individualized litigation also presents a potential

for inconsistent or contradictory judgments. In contrast, the class action device presents far
fewer management difficulties and provides the benefits of single adjudication, economy of

scale, and comprehensive supervision by a single court on the issue of Defendant’s liability.

Class treatment of the liability issues will ensure that all claims and claimants are before this

Court for consistent adjudication of the liability issues. Defendant has acted or refused to act on

grounds that apply generally to the class, so that final injunctive relief or corresponding

declaratory relief is appropriate respecting the class as a whole.
                                                 COUNT I
                             Violation of Ohio Revised Code Sec. 2741.01, et. seq.
         38.   Plaintiff incorporates by reference and re-allege herein all paragraphs alleged

above.



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       39.      Plaintiff brings this claim individually and on behalf of the members of the Class.

       40.      Ohio Revised Code Sec. 2741.01, et. seq., prohibits using an individual's name for

advertising or soliciting the purchase of products or services without written consent.

       41.      As shown above, Defendant used Plaintiff’s and the putative class members’

names and likenesses for the purpose of advertising or promoting its products without written

consent.

       42.      The aspects of Plaintiff’s persona that Defendant uses to advertise its product has

commercial value.

       43.      Plaintiff is domiciled in Ohio.

       44.      Defendant had knowledge that Plaintiff’s persona was being used in an

advertisement without authorization.

       45.      Based upon Defendant’s violation of Ohio Revised Code Sec. 2741.01, et. seq.,

Plaintiff and class members are entitled to (1) an injunction requiring Defendant to cease using

Plaintiff’s and members of the class’ names and any attributes of their identities to advertise its

products and services, (2) statutory damages in the amount of between $2,500 and $10,000 per

violation to the members of the class, (3) an award of punitive damages or exemplary damages,

and (4) an award of reasonable attorney's fees, court costs, and reasonable expenses under OH
ST § 2741.07.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks

judgment against Defendant, as follows:

       a.       For an order certifying the Class under Rule 23 of the Federal Rules of Civil

                Procedure and naming Plaintiff as the representative of the Class and Plaintiff’s

                attorneys as Class Counsel to represent members of the Class;

       b.       For an order declaring the Defendant’s conduct violates the statutes referenced

                herein;




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c.      For an order finding in favor of Plaintiff and the Class on all counts asserted

        herein;

d.      For compensatory, statutory, and punitive damages in amounts to be determined

        by the Court and/or jury;

e.      For prejudgment interest on all amounts awarded;

f.      For an order of restitution and all other forms of equitable monetary relief;

g.      For all injunctive relief the court finds appropriate; and

h.      For an order awarding Plaintiff and the Class their reasonable attorneys’ fees and

        expenses and costs of suit.
                        DEMAND FOR TRIAL BY JURY

Plaintiff demands a trial by jury of all issues so triable.



Dated: April 20, 2021                   Respectfully submitted,

                                        BURSOR & FISHER, P.A.

                                        By:     /s/ Philip L. Fraietta
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